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 IT IS ORDERED as set forth below:



 Date: March 14, 2022
                                            _____________________________________
                                                        James R. Sacca
                                                  U.S. Bankruptcy Court Judge

 _______________________________________________________________


                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION
IN RE:                                             :
                                                   : CHAPTER 7
WEINSTOCK & SCAVO, P.C.,                           :
                                                   : CASE NO. 12-80220-jrs
        Debtor.                                    :
                                                   : JUDGE SACCA
_                                                  :
                                                   :
WILLIAM J. LAYNG, JR., as Chapter 7 Trustee :
for WEINSTOCK & SCAVO, P.C.,                       :
                                                   : ADVERSARY PROCEEDING
                                                   : NO. 21-05122
        Plaintiff,                                 :
                                                   :
v.                                                 :
                                                   :
US BANK TRUST NATIONAL ASSOCIATION, :
not in its individual capacity but solely as Owner :
Trustee for VRMTG Asset Trust, RBC BANK :
(USA), PNC BANK, NATIONAL                          :
ASSOCIATION, CHARLTON C. LESTER,                   :
JADE EYE 72 TRUST, INTERNAL REVENUE :
SERVICE and JERMAINE BRADLEY,                      :
                                                   :
        Defendants.                                :
                                                   :

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                                           JUDGMENT

        Based upon the Order of even date herewith it is ORDERED, ADJUDGED, and DECREED

that:

        1. Judgment on the merits, or in the alternative by default, is entered against PNC,

           RBC, Jade Eye 72 Trust, Lester and Bradley that they have no interest in the

           Property, as defined in the Order entered herewith, or its sale proceeds.

        2. Title to the Property is vested in Maddox by virtue of the Trustee's sale to him.

        3. US Bank is entitled to payment on its outstanding First Priority Security Deed on the

           Property in the amount of $512,997.30 as of December 9, 2021 plus per diem interest

           through the payment date and Trustee is directed to make payment to US Bank

           accordingly.

        4. No other person or entity, including RBC, PNC, Lester, Jade Eye 72 Trust or Bradley,

           in any capacity, has any interest in the Property or its sale proceeds. Any interests of

           RBC, PNC, Lester, Jade Eye 72 Trust and Bradley therein are void according to the

           foregoing Findings of Fact and Conclusions of Law.

        5. The balance of the proceeds from the sale of the Property after satisfaction of the US

           Bank First Priority Security Deed shall be applied in satisfaction of the amounts due to

           the estate on the State Court Judgments.
                                        END OF DOCUMENT

Prepared by:
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By: /s/ Theodore N. Stapleton
THEODORE N. STAPLETON
Georgia Bar No. 675850

Attorneys for Plaintiff
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                               Fairburn, GA 30213

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